                                                          Judge: Christopher M. Alston
                                                          Chapter: 13
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2
                          IN THE UNITED STATES BANKRUPTCY COURT
3                   FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE

4
     In Re:                                               IN CHAPTER 13 PROCEEDING
5
                                                          NO. 22-10270-CMA
6    KARIE A SIMMONS,
                                                          NOTICE OF CONTINUED MEETING OF
7                                                         CREDITORS
8                                  Debtor.
9
        PLEASE TAKE NOTICE that the Meeting of Creditors is CONTINUED to:
10

11      Date:                   May 02, 2022

12      Time:                   8:30 am
13
        THE MEETING shall be conducted by telephone:
14
        Conference Line:        1-866-880-5064
15

16      Participant Code:       6951575

17      IF THE DEBTOR FAILS TO APPEAR AT THE CONTINUED MEETING, THE CHAPTER 13
18
     TRUSTEE MAY APPLY FOR AN ORDER DISMISSING THIS CASE WITHOUT FURTHER
19
     NOTICE pursuant to Local Bankruptcy Rule 1017-1(e) and the United States Bankruptcy Court’s Notice
20

21   of Chapter 13 Bankruptcy Case.

22      Dated: April 11, 2022                           /s/ Jason Wilson-Aguilar
                                                        Jason Wilson-Aguilar, WSBA #33582
23
                                                        Chapter 13 Trustee
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                                                                                     Jason Wilson-Aguilar
                                                                            Chapter 13 Bankruptcy Trustee
     NOTICE OF CONTINUED MEETING OF CREDITORS                                     600 University St. #1300
                                                                                        Seattle, WA 98101
                                                                                           (206) 624-5124
        Case 22-10270-CMA          Doc 23      Filed 04/11/22   Ent. 04/11/22 14:40:17      Pg. 1 of 1
